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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
__________________________________________
COUNTY OF COOK,                            )
                                           )
                  Plaintiff,               )
      v.                                   ) Case No. 1:14-cv-02280
                                           )
BANK OF AMERICA CORPORATION, et al         ) HONORABLE ELAINE E. BUCKLO
                                           )
                  Defendants.              ) MAG. JUDGE SUNIL R. HARJANI

PLAINTIFF’S MOTION TO DISQUALIFY COUNSEL AND MEMORANDUM OF LAW
                        IN SUPPORT THEREOF
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        Plaintiff County of Cook (“the County”) moves this Court to disqualify Defendants’

counsel for the reasons set forth below.1

                                             BACKGROUND

        The County filed this action against Bank of America Corporation and related entities on

March 31, 2014, alleging that Defendants’ predatory and discriminatory residential mortgage

lending and servicing activities in violation of the Fair Housing Act resulted in unprecedented

numbers of mortgage loan defaults, foreclosures and/or home vacancies among minority

homeowners, thereby damaging the County. As in the original Complaint, the operative Second

Amended Complaint (SAC) includes multiple references to eleven Confidential Witnesses (CWs)

who were former employees of the Defendants with direct knowledge of the facts attributed to

them. (see, e.g. SAC, ¶¶ 189, 193, 197, 199-200, 204-211, 243, 245, 246-250, 268-270, 274, 287,

356, 461-463, 478-479, and 497.) In addition to providing highly specific information used in the

Complaint and the SAC, seven CWs later voluntarily provided sworn declarations to the County’s

investigator confirming the factual allegations attributed to them.

        On October 8, 2019, Goodwin Procter LLP (“Goodwin”), counsel for Defendants, sent a

letter to Plaintiff’s counsel, stating that it now represented nine of the original eleven CWs and,

“[a]ccordingly, you may not contact these witnesses directly, and you should contact our Firm if

you wish to speak with or depose any of them. (Declaration of Jennifer S. Czeisler (“Cziesler

Decl.”), ¶¶ 2-11, Ex. A.) The October 8 letter attached new sworn declarations from each of the

nine CWs. (Id., at Ex.’s B-J.)

        Remarkably, all nine of these new sworn declarations include statements that partially



1
  The County is cognizant of the unusual nature of this motion and the severity of the relief requested. The
extraordinary conduct establishing Defendants’ counsel’s conflicted representation, however, compels this result.

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recant or entirely disavow, the very same factual statements these witnesses previously provided

to the County’s investigator, include other patently false or misleading statements, or directly

conflict with prior sworn statements they gave to the County’s investigator at a much later date.

For example, contrary to their prior representations to the County’s investigators, and in most

instances contrary to the facts they confirmed in their prior declarations, the CWs now represented

by Goodwin state such things as: the factual references attributed to them in the Complaint are a

“surprise;” their statements are taken “out of context;” their statements are not based on personal

knowledge; they disclaim any memory of their statements, they deny consent to attribution of any

of their statements, and/or renounce the truth of their prior sworn statements. (See, e.g., Id.) Ex. B

(Fishman Decl. ¶¶ 5-9), Ex. C (Lashmet Decl., ¶¶ 4-10); Ex. D (Eye Decl., ¶¶ 4-9).) All of this

evidences potential perjury with respect to one set of CW declarations or another.

       Goodwin’s concurrent representation of the Bank of America Defendants and these nine

CWs presents a non-waivable conflict of interest. At the very least, it presents an egregious

appearance of impropriety. Goodwin has exposed most of these individual witnesses – their own

clients -- to perjury, even though none of them had any interest at stake in this litigation before

Goodwin’s successful efforts to co-opt them for the benefit of Bank of America and Goodwin’s

representation of Bank of America. Goodwin’s duty to zealously represent Bank of America puts

the firm in direct conflict with its duty of loyalty to the CWs that it also purports represent.

Goodwin thus placed itself in the disqualifying position of having concurrent non-waivable

conflicts, conflicts that cannot be ethically remedied, even by withdrawing from representation of

one client in favor of another.

       In connection with this motion, the County retained Professor Roy D. Simon, Jr., a leading

expert in the field of legal ethics. He is the Distinguished Professor of Legal Ethics Emeritus at



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Hofstra University School of Law, serves as a legal ethics advisor to law firms, and is the author

of the twenty editions of Simon’s New York Rules of Professional Conduct Annotated, as well as

other books in the field of professional responsibility. (See Declaration of Roy D. Simon (“Simon

Decl.”), ¶¶ 1, 4, Ex. A.). Based upon his analysis of the facts and circumstances concerning

Goodwin’s newly achieved representation of nine of the eleven CWs,2 and its procurement of

contradictory sworn declarations by five of them, Professor Simon opines that Goodwin’s conduct

in advising [the CWs] or persuading them to recant or limit prior statements or declarations creates

serious concurrent conflicts of interest between the Defendants and the CWs, under the American

Bar Association Model Rules of Professional Conduct (“Model Rules”), Rule 1.7(a)(2),3 that are

non-waivable. (Simon Decl., ¶¶ 2-3, 38-42, 44, 66.) He further opines that Goodwin is necessarily

disqualified from simultaneously representing both the nine CWs and the Bank of America

defendants. (Id. at ¶ 2(d)(i), and (viii).) These disqualifying conflicts raise salient questions of

serious misconduct by Goodwin, and an egregious appearance of impropriety.

        The County served a subpoena upon Goodwin on October 21, 2019, requesting Goodwin’s

communications, retainer agreements, conflict waivers (if any), disclosures to these nine CWs,

documents concerning the nature of Goodwin’s conduct of any internal ethics analysis and

documents reflecting any conflict checks with respect to the CW retentions, along with the terms

of the retentions. (Czeisler Decl., Ex. K.) Professor Simon similarly finds it necessary to obtain

this information. (Simon Decl., ¶ 66-67.) On November 4, 2019, Goodwin objected to the County’s

subpoena in its entirety, refusing to provide any of what was requested. (Czeisler Decl., Ex. L.)4


2
  CW2 and CW4 are the two individuals who did not supply Goodwin with a declaration. Either these CWs could not
be located, or they did not wish to provide a declaration to Goodwin in its effort to reverse or otherwise undermine
the CWs’ prior statements.
3
  This Court applies the American Bar Association Model Rules of Professional Conduct. ND.Ill. L.R. 83.50. Model
Rule 1.7 addresses attorney’s conflicts of interest in concurrent representation.
4
  Plaintiff intends to file a motion to compel production from Defendants, addressing Defendants’ complete refusal to
produce any documents in response to the County’s October 21, 2019 subpoena.

                                                         3
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        The Court should disqualify Goodwin from representing Bank of America and its

defendant entities, given its misconduct with regard to the CWs. While a drastic remedy, it is a

commensurate and necessary one. If any doubt exists as to the appropriate remedy, Goodwin

should be required to reveal in discovery the full facts and circumstances under which Goodwin

came to represent each of the CWs, what each CW was told5 (including about any potential

conflicts), and what Goodwin did to attempt to clear its un-waivable conflict. (see, e.g., Simon

Decl., ¶ 47.) At bare minimum, the CWs should be provided independent, unconflicted counsel, at

Goodwin’s expense, so they may be independently informed as to the nature of Goodwin’s

behavior and how best to respond to the untenable predicament in which Goodwin has placed

them.

        The County further requests that the Court impose sanctions against Goodwin for the

attorneys’ fees and costs required for the preparation and presentment of this Motion, according to

proof, including the amounts expended in connection with Professor Simon’s engagement and

work in this matter and any discovery the County must undertake. Finally, the County requests

discovery on the factual matters at issue, including depositions of the CWs, and requests that those

deposition would not count toward the County’s twenty deposition limit.

                                          LEGAL STANDARDS

        Generally, if a law firm is involved in a concurrent representation conflict and cannot

obtain a waiver of the conflict by both clients, there is a stringent standard of review. The court

must consider "the duty of undivided loyalty which an attorney owes to each of his

clients." Whiting Corp v. White Machinery Corp., 567 F.2d 713, 716 (7th Cir. 1977) "The attorney



5
 There is a genuine question of whether the attorney-client privilege would apply to any communications between
Goodwin and the CWs, namely if it is shown that Goodwin’s representation of the CWs is primarily for the benefit of
Bank of America, not the CWs. (see Simon Decl., ¶¶ 52-66.)

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[or law firm] must be prepared to show, at the very least, that there will be no actual or apparent

conflict in loyalties or diminution in the vigor of his [or her] representation." (citation omitted).

Installation Software Techs, Inc. v. Wise Solutions, Inc., 2004 U.S. Dist. LEXIS 3388 *9. While

disqualification motions are viewed with extreme caution because they can be used as an

harassment tool, Freeman v. Chi. Musical Instrument Co., 689 F.2d 715, 722 (7th Cir. 1982), the

Seventh Circuit has instructed courts to resolve doubts in favor of disqualification. See Exterior

Sys., Inc. v. Noble Composites, Inc., 175 F. Supp. 2d 1112, 1115 (N.D. Ind. 2001) (citing United

States v. Goot, 894 F.2d 231, 235 (7th Cir. 1990)). A district court possesses "broad discretion" in

determining whether disqualification is required in a particular case. Cardenas v. Benter Farms,

No. IP 98-1067-C T/G, 2001 WL 292576, at *1 (S.D. Ind. Feb. 7, 2001).

                                           ARGUMENT

A.       The Analysis of Legal Ethics Expert Professor Roy Simon Suggests Goodwin’s
         Conflicts Require Disqualification

         1. Goodwin has Serious, Concurrent Conflicts of Interest

         Professor Simon, a legal ethics expert, has submitted to the Court a declaration containing

his opinions on the ethical impacts of Goodwin’s current representation of virtually all the CWs

(nine of eleven). Critical among those opinions is that Goodwin has concurrent non-waivable

conflicts of interest in its representation of both the Defendants and the five CWs who have signed

conflicting declarations sworn under penalty of perjury. (Simon Decl., ⁋⁋ 3, 37-51; see also, §(B),

infra.) Professor Simon explains that concurrent, unwaivable conflicts exist under Model Rule 1.7

(a)(2) where, as here, “there is a significant risk that the representation of one or more clients will

be materially limited by the lawyer’s responsibilities to another client [...]” (Model Rule 1.7 (a)(2);

Simon Decl., ⁋ 38.)

         There can be no dispute that Goodwin has an ethical obligation to zealously and loyally


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represent all its clients within the bounds of the law, to communicate with all of them fully and

candidly per Model Rule 1.4, and to avoid assisting any of them in illegal conduct. (Simon Decl.,

⁋ 39.) However, as Professor Simon illustrates, there is a significant risk that some of the CWs will

back away from their latest sworn declarations and revert to their original ones. (Id.) If that

happens, Goodwin will be required to advise the CW regarding whether to do so. (Id.) That advice

will necessarily include an admonition regarding the importance of not committing perjury. (Id.)

However, advising the CWs to revert to a truthful declaration that accuses Defendants of

misconduct conflicts with Goodwin’s duty to zealously represent Bank of America in denying that

conduct. (Id.) Goodwin possesses sharply conflicting duties.

       As another example, if the County calls a CW as a witness to vouch for his or her original

sworn declaration, Goodwin will be barred from impeaching or cross-examining them because

cross-examining a current client is a conflict of interest. (Simon Decl., at ⁋ 39(c).) In other words,

if the CWs testify consistently with the information attributed to them in the County’s SAC,

Goodwin cannot seek to impeach or cross-examine those witnesses on behalf of Defendants

because those witnesses are now Goodwin clients. (Id.)

       Goodwin cannot “reasonably believe,” as required by Model Rule 1.7(b), that its

simultaneous representation of Defendants and the CWs will not be materially limited by its

responsibilities to each client, where the defense, in part, is now connected with the new statements

of the CWs. The interests of the Defendants are so intertwined and adverse to the statements

attributed to the CWs that a non-waivable conflict has been created. See e.g., Owen v. Wangerin,

985 F.2d 312, 317 (7th Cir. 1993) (affirming disqualification of counsel even when a conflict

waiver was executed and the lawyer had not yet determined whether his representation would be

adversely affected by his competing personal interests).



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       The court’s analysis in State Comp. Ins. Fund v. Drobot, 192 F. Supp.3d 1080 (C.D. Cal.

2016) (SCIF), is analogous to the unwaivable conflict at issue here. In SCIF, the court disqualified

the law firm that represented the civil plaintiff because the firm also represented one of the

defendants in a somewhat related criminal action. Of particular note, the court recounted its

“obligation, independent of all the other legal authority discussed here, ‘to preserve public trust in

the scrupulous administration of justice and the integrity of the bar.’” 192 F.2d at 1098 (internal

citation omitted). Then, after concluding that SCIF’s lawyer “represented a client with directly

adverse interests,” and that “it would be unthinkable to permit an attorney to assume a position at

a trial or a hearing where he could not advocate the interests of one client without adversely

injuring those of the other,” the SCIF court quoted the language in the lawyer’s own waiver letter

as providing the very reasons why the lawyer’s conflict was unwaivable -- the same reasons why

Goodwin’s conflict here is unwaivable and requires Goodwin’s disqualification:

       [C]oncurrent representations give rise to a risk that the Firm may favor the interests
       of one client over the other, that the Firm's exercise of independent judgment to one
       client may be impaired by its relationship with the other client, that the Firm may
       not be able to present the appropriate positions, claims, or defenses for one client
       in order to avoid taking positions adverse to the other client, that the Firm may be
       restricted from forcefully advocating one client's position for fear of losing the
       confidence of the other client, that the Firm may be required to limit its
       representation and not be able to give each client complete legal advice as a result
       of its obligation to the other client, and that there may be an appearance of
       impropriety in the representation of both clients simultaneously.

(State Comp. Ins. Fund, 192 F. Supp.3d at 1113-14.) Finally, the SCIF court noted that the conflict

could not be repaired by dropping one of the clients. (State Comp. Ins. Fund, 192 F. Supp.3d at

1114.) Under the “hot potato” rule, a “’law firm that knowingly undertakes adverse concurrent

representation cannot avoid disqualification by withdrawing from the representation of the less

favored client.’” (Id.) The “hot potato” rule reflects that the “duty of loyalty to an existing client

is so important, so sacred, so inviolate that “not even by withdrawing from the relationship can an

attorney evade it.” (Id.)

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         Based on the undeniable circumstances here, Professor Simon concludes that there is a

“significant risk” that Goodwin’s representation of Defendants will be “materially limited” by

Goodwin’s responsibilities to “another client.” (Simon Decl., ¶ 40-41.) Disqualification is thus

warranted.

2.       Goodwin’s Serious Conflicts Are Not Waivable, and Even if They Could Be
         Waived, Goodwin Did Not Obtain Valid Waivers

         Professor Simon opines that Goodwin’s conflicts cannot be waived. Simon Decl. at ⁋⁋ 43-

47. Goodwin may only overcome its concurrent conflicts of interest if it “reasonably believes that

[it] will be able to provide competent and diligent representation to each affected client” and “each

affected client gives informed consent, confirmed in writing.” Simon Decl. at ⁋ 44, citing Model

Rule 1.7(b)(1), (4) (emphasis added). Goodwin cannot “reasonably believe” as required by

1.7(b)(1), that its simultaneous representation of Defendants and the CWs will not be materially

limited by its responsibilities to each client, because the defense is now connected with the new

sworn statements of the CWs.

         Here also, considerable doubt exists as whether the CW clients gave informed consent.

Simon Decl. at ⁋⁋ 46, 47. For Goodwin to have obtained “informed consent” to the representation,

the firm must provide adequate information and explanation about the material risks of, and

reasonably available alternatives, to the proposed course of conduct. (Model Rule 1.0(e) (defining

“informed consent”); Simon Decl. at ⁋ 46). Thus, for informed consent to exist here, Goodwin

would have been reasonably required to explain, at a minimum: (a) if the CW signs under penalty

of perjury two opposite, contradictory declarations, the CW must be committing perjury in one of

them; (b) if a client disavows under penalty of perjury an earlier statement made under penalty of

perjury, the client is exposed to impeachment by the original sworn statement; (c) Goodwin’s

clients will suffer harm if a CW stands by his or her original declaration, since Defendants have a


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vested interest in negating and denying the CWs’ original declarations; (d) a significant risk to the

other CWs will arise if even one CW decides to revert to his or her original declaration testimony;

and (e) the CWs have the alternative of retaining other counsel (instead of Goodwin) or not having

counsel at all. (Simon Decl., ¶¶ 47 (a)-(e).) If the non-stakeholder CW was actually informed of

these considerations, it is highly unlikely that consent would have been given.

B.     The Contradictory or Recanting Sworn Testimony Subjecting Confidential
       Witnesses to the Penalties of Perjury

       The original Complaint contained quotations and observations from eleven CWs. Their

observations to investigators and their sworn statements supported Plaintiff’s allegations. At some

point after the names of the CWs were produced in discovery three things happened: (a) Goodwin

located nine of the eleven CWs; (b) Goodwin was retained as counsel for all nine CWs; and (c)

Goodwin procured declarations from all nine CWs that now criticize the case theory or conjure

some other reason to cast doubt on the validity of the CW’s prior sworn statements or declarations.

       Five of the nine CWs that Goodwin now purportedly represents previously had provided

declarations under penalty of perjury to the County’s investigators. (Declaration of Wolfram

Worms (“Worms Decl.”); Ex. A, Declaration of Kemberly Abbott Decl. (CW 10) ;Ex. B, Fishman

Decl. (CW 1); Ex. C, Modhera Decl. CW 9); Ex. D, Burns Deel. (CW 3). Ex. E, Eye Decl. (CW

11). The dramatic conflicts and contradictions in the five CWs’ new declarations, under penalty of

perjury, after they individually hired Goodwin as their attorneys, are discussed below.

       1.      Confidential Witness No. 11 – Joseph Eye

       Before. The statements attributed to Joseph Eye are found in paragraphs 204-205, 210, 243,

246, 248-249 of the SAC. In these paragraphs, Mr. Eye provided relevant information concerning

broker behavior designed to increase loan fees and commensurate broker compensation. On

December 12, 2018, Mr. Eye signed a sworn declaration in which he identified himself as CW11,


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attested to his personal knowledge of the CW11 allegations in the SAC, and affirmed that he

believed the allegations were true and correct. (Worms Decl., Ex. E.)

       After. On July 23, 2019, after Goodwin secured its representation of him, Eye signed a

declaration that claims surprise that he was identified as a CW. (Czeisler Decl., Ex. D, ¶ 4.)

Directly contrary to his original declaration, he goes on to say that some of the allegations

attributed to him in the SAC are “potentially misleading or inaccurate.” (Id., at ¶ 6.) He further

goes so far as to renounce paragraph 243 concerning the approval of borrowers with low credit

scores in an attempt to undermine the allegation entirely by swearing his lack of knowledge of

Countrywide’s loan approval exception policy and declares that Countrywide’s design of the

exception policy “cannot be true.” (Id., at ¶ 7.)

       Mr. Eye further declared that, as far as he can recall, he was never told that his statements

would be used to support the allegations of the complaint. (Id. at ¶ 9.) Yet, he originally swore that

he reviewed his allegations and to his belief they are true.

       2.      Confidential Witness No. 1- Arnold Fishman

       Before. The allegations attributed to Mr. Fishman relate to Countrywide’s assessment of

exorbitant fees, leaving the borrower in a worse condition after refinancing. (See, SAC, ¶¶ 199-

200.) On June 22, 2015, Mr. Fishman executed a declaration in which he confirmed that he had

reviewed the original complaint in this action. (Worms Decl,, Ex. B, ¶2). He further confirmed

that the paragraphs attributed to him as CW1 were true and correct and based his “knowledge,

experience, and best recollection. “(Id.)

       After. On July 26, 2019, over four years later, after he apparently retained Goodwin, Mr.

Fishman claims surprise that he is a witness, that his statements are “taken out of context,” that his

memory is now unclear or “vague” as to his statement that “people in minority neighborhoods

[paid] higher prices for mortgage loans.” (SAC, ¶ 211.) He further states that had he known his

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prior statements would be attributed to him in this lawsuit, he “would not have consented because

he does not believe those allegations are true.” (Czeisler Decl., at Ex. B, ¶ 9.)

       3.      Confidential Witness No. 9 - Amul Modhera

       Before. Mr. Modhera is a former Bank of America loan officer. The allegations attributed

to him relate to Bank of America’s compensation to brokers for placement of borrowers into higher

interest loans (SAC, ¶ 206), as well as lack of training of Bank of America brokers, and the brokers’

ability to target certain borrowers. (SAC, ¶ 287.) On May 28, 2015, Mr. Modhera signed a

declaration in which he swore that he reviewed the allegations attributed to him and that he believes

them to be true and correct. (Worms Decl., Ex. C, ¶ 2.)

       After. Mr. Modhera signed a new declaration on July 16, 2019, in which he attests to his

personal knowledge that he “did not witness any acts of discrimination, and that he does not want

“to act as a witness on behalf of [Plaintiff].” (Czeisler Decl., Ex. F, ¶ 4.) He further states that the

paragraphs in the SAC attributed to him are “taken out of context.” He also states that he “cannot

say precisely what training broker’s sales personnel received” but in the next sentence declares his

disagreement with [Plaintiff’s] characterization that brokers and their sales personnel were able to

“target borrowers in any manner that they saw fit.” (Id., at ¶ 5.)

       4.      Confidential Witness No. 10 – Kemberly Abbott

       Before. Ms. Abbott was a loan account manager for First Franklin Financial. She informed

Plaintiff’s investigators that loan brokers were not eligible for yield spread premiums if they

allowed borrowers to buy out of the pre-payment penalties that were built into loan programs that

First Franklin offered. (SAC, ¶ 207) She also indicated that while certain appraisals were supposed

to be within one mile of the property at issue, appraisers would inflate values by using comparables

outside a mile radius. (Id., at ¶ 274.) Ms. Abbott signed a declaration on May 21, 2015, swearing

that she reviewed the original complaint, and the allegations attributed to her as CW 10 were true

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and correct. (Worms Decl., Ex A, ¶ 2.)

        After. More than four years later, June 11, 2019, Ms. Abbott, after speaking with Goodwin,

signed a declaration stating that she did not read the complaint that contains the allegations

attributable to her, that she cannot even recall why she signed her declaration applicable to this

action, that she believes the allegations are inaccurate, and completely denies that she made the

attributed statements. (Czeisler Decl., Ex. E., ¶¶ 3-4.) She further states that her original statement

to investigators concerning improper use of comparables is “out of context” and that appraising

property is “not an exact science.” (Id., at ¶ 7.) Finally, she gives an opinion that she is not aware

of any basis “at all” upon which to claim “that First Franklin discriminated against minority

borrowers.” (Id., at ¶ 9.)

        5.      Confidential Witness No. 3 – Rebecca Burns

        Before. Ms. Burns is a former branch manager who was employed with Countrywide from

1995 through 2005. (Czeisler Decl., Ex. G, ⁋ 2.) The allegations attributed to her relate to

Countrywide’s “big push” to sell adjustable rate mortgages (“ARMS”) when borrowers were “tight

on qualifying” (SAC, ⁋ 189), as well as Countrywide’s hiring of African American and Latino

account executives to market and sell Countrywide loans to African American and Latino

borrowers in their communities. (SAC, ⁋ 462). On November 29, 2018, Ms. Burns signed a

declaration under penalty of perjury swearing that she “reviewed the Second Amended Complaint

in this matter, including paragraphs 189 and 462 attributed to [her] as Confidential Witness No. 3

(or CW3),” and that “the allegations in the paragraphs attributed to me as CW3 are true and correct

based on my knowledge and experience.” (Worms Decl., Ex. D, ¶ 2.)

        After. Ms. Burns signed a new declaration on August 23, 2019. In her new declaration,

Ms. Burns asserts that she is “surprised to learn” that she was identified as a confidential witness

in the lawsuit, and that some of the factual statements she swore to regarding Countrywide’s

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practices are “potentially misleading or inaccurate.” (Czeisler Decl., Ex. G, ⁋⁋ 4-5.) Although she

swore that she read, reviewed and confirmed all of the statements attributed to her in the SAC, Ms.

Burns now asserts she “was never told that what [she] said would be used in support of a lawsuit

that concerns borrowers in Illinois” and “if she had been asked whether her statements could be

used in support of such a lawsuit, she would not have agreed.” (Id., ⁋ 9.) Ms. Burns claims she

did not use the word “tactics” or did not mean to imply anything negative about the allegation that

Countrywide management was well aware of loan officers’ “tactics” in advising borrowers they

could refinance when their interest rate increased. (Id., ⁋ 6.) She denies now that she said

“management assumed the buyer would refinance or sell before the rate reset on an ARM, or

simply did not care what happened to the borrower because, by the time the rates did reset,

Countrywide would have passed the risk of default on to the investors either by selling or

securitizing the loan.” (Id.) Finally, with regard to paragraph 462 of the SAC, which is attributed

to her, she now rescinds any implication of impropriety by Countrywide’s hiring of African

American and Latinos to market and sell Countrywide loans. (Id., ⁋ 7.)

C.     At a Minimum, the Later-Acquired Declarations Should Be Stricken Under the
       Sham Affidavit Doctrine

       Regardless of any outcome, the newly-acquired sworn CW declarations should be stricken

under the principles of the Seventh Circuit’s “sham affidavit doctrine.” (Simon Decl., at ¶¶ 48-

49.) Under that doctrine, courts may disregard sworn affidavits or other statements made under

penalty of perjury that contradict prior statements also made under penalty of perjury. See Dunn

v. Menard, Inc., 880 F.3d. 899, 910 (7th Cir. 2018). The doctrine extends beyond the parties to

include sworn statements made by any witnesses who contradicts his or her prior sworn testimony.




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Bank of Illinois v. Allied Signal Safety Restraint Sys., 75 F. 3d 1162, 1169 (7th Cir. 1996).6 Such

supplemental affidavits, typically written by an affiant’s lawyer and when offered to contradict an

affiant’s prior sworn testimony to create an issue of fact, “are so lacking in credibility as to be

entitled to zero weight in summary judgment proceedings unless the affiant gives a plausible

explanation for the discrepancy.” Beckel v. Wal-Mart Associates, Inc., 301 F.3d 621, 623 (7th Cir.

2002). See also Shaw v. Williams, 2018 WL 3740665 (N.D. Ill. Aug. 7, 2018) (observing that

generally “a party may not create issues of fact by introducing affidavits that contradict prior

testimony unless the affidavit explains any discrepancies, mistakes, or ambiguous testimony in

earlier depositions”).

         The sham affidavit doctrine applies here to strike the CWs’ new declarations. As discussed

above, Goodwin continues to have non-waivable conflicts of interest with the CWs, barring it from

representing them. Nevertheless, Goodwin inexplicably convinced all but two of the CWs to hire

a global law firm and then proceeded to recant or disavow their prior sworn declarations in new

sworn declarations. The CWs offer no credible explanations for the assertions in their new

declarations, in some cases years after their initial sworn statements. For those CWs that gave

contradictory sworn declarations, those declarations do not “explain discrepancies, mistakes or

ambiguities” in prior declaration testimony. These particular CWs simply reverse themselves with

assertions in direct conflict with the unambiguous material fact statements supporting the County’s

claims that the CWs swore to in their original declarations.

         It is simply not plausible that these CWs all voluntarily exposed themselves to the penalties



6
 The Seventh Circuit has long applied the doctrine to prevent parties from manufacturing sham issues of fact to thwart
summary judgment. Bank of Illlinois v. Allied Signal Safety Restraint Sys., 75 F. 3d 1162, 1168 (7th Cir. 1996). See
also Buckner v. Sam’s Club, Inc., 75 F.3d 290, 292 (7th Cir. 1996) (affirming district court’s decision to strike
supplemental affidavits it determined were a “clear attempt” to “shore up obvious gaps” in plaintiff’s case with
“phantom evidence” contradictory to the plaintiffs’ sworn testimony); Lichauco v. Kelly, 2019 WL 1532954 (N.D. Ill.
April 9, 2019) (disregarding inconsistent affidavit contradicting prior sworn testimony).

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of perjury by disavowing earlier statements and swearing to contradictory facts. The only

reasonable conclusion is that the declarations are shams, manufactured by Goodwin to create fact

issues, with the goal of nullifying all of the CW attributions in the SAC, and all of the original

declarations. To be sure, this conduct is solely to the benefit of Goodwin’s long-time client, Bank

of America – not for the CWs in the least. These post hoc declarations lack credibility, are

potentially fraudulent, and have no weight. See Beckel, 301 F.3d at 623. (Simon Decl, ¶ 49.)

                                         CONCLUSION

       The County respectfully requests that the Court disqualify Goodwin from its simultaneous

representation of the CWs and the Bank of America Defendants. In this matter, such dual

representation is ethically untenable and presents non-consentable concurrent conflicts of interest

in violation of Model Rule 1.7. The County further requests that the CWs be provided independent

counsel, paid for by Goodwin, and that the County be awarded sanctions in the amount of its costs,

expert fees, and attorney time in presenting this motion, including for all discovery of the factual

matters at issue and any depositions of the CWs. Finally, depositions of the CWs should not count

toward the County’s twenty deposition limit.

Dated: December 2, 2019                        Respectfully Submitted,

                                               KIMBERLY M. FOXX,
                                               STATE’S ATTORNEY FOR COOK COUNTY

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day I served the above and foregoing PLAINTIFF’S

MEMORANDUM IN SUPPORT OF MOTION TO DISQUALIFY on all parties by causing

a true and correct copy to be filed with the court’s electronic filing system, which should

automatically send a copy to all counsel of record.


Dated: December 2, 2019                       Respectfully Submitted,


                                              /s/ Kenneth A. Wexler_________
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